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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.
ZACHARY JORDAN ALAM,

Defendant.

CRIMINAL NO. 1:21-CR-00190-DLF

VIOLATIONS:

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding Certain
Officers)

18 U.S.C. §§ 111(a)(1) and (b)

(Assaulting, Resisting, or Impeding Certain
Officers Using a Dangerous Weapon)

18 U.S.C. §§ 231(a)(3) and 2

(Civil Disorder and Aiding and Abetting)
18 U.S.C. § 1361

(Destruction of Government Property
Exceeding $1,000)

18 U.S.C. §§ 1512(c)(2) and 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building with a Deadly or Dangerous
Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building with a Deadly or
Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading , Demonstrating, or Picketing in
Capitol)
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INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, ZACHARY JORDAN
ALAM, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, officers from the United States Capitol Police
Department located on both sides of the door in proximity to the Speaker’s Lobby, while such
persons were engaged in and on account of the performance of official duties, and where the acts
in violation of this section involve the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ZACHARY JORDAN
ALAM, using a deadly or dangerous weapon, that is, a helmet, did forcibly assault, resist, oppose,
impede, intimidate, and interfere with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), that
is, officers from the United States Capitol Police Department located on both sides of the door in
proximity to the Speaker’s Lobby, while such persons were engaged in or on account of the
performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, ZACHARY JORDAN
ALAM, committed and attempted to commit an act to obstruct, impede, and interfere with a law

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enforcement officer, that is, an officer from the United States Capitol Police, lawfully engaged in
the lawful performance of his official duties, incident to and during the commission of a civil
disorder which in any way and degree obstructed, delayed, and adversely affected commerce and
the movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Sections 231(a)(3) and 2)

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, ZACHARY JORDAN
ALAM, did willfully injure and commit depredation against property of the United States, and of
any department and agency thereof, and any property which has been and is being manufactured
and constructed for the United States, and any department or agency thereof, that is, windows of
the Speaker’s Lobby doors of the United States Capitol Building, thereby causing damage in an
amount more than $1000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FIVE
On or about January 6, 2021, within the District of Columbia and elsewhere, ZACHARY
JORDAN ALAM, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, , ZACHARY JORDAN
ALAM, did unlawfully and knowingly enter and remain in a restricted building and grounds, that
is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
helmet.

(Entering and Remaining in a Restricted Building with a Deadly or Dangerous
Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and (b)(1)(A))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, ZACHARY JORDAN
ALAM, did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a helmet.

(Disorderly and Disruptive Conduct in a Restricted Building with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(2) and

(b)(1)(A))
COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, ZACHARY JORDAN ALAM,
did knowingly, engage in any act of physical violence against any person and property in a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

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within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a helmet.

(Engaging in Physical Violence in a Restricted Building with a Deadly or Dangerous
Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and (b)(1)(A))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, ZACHARY JORDAN ALAM,
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT TEN
On or about January 6, 2021, in the District of Columbia, , ZACHARY JORDAN ALAM,
willfully and knowingly engaged in an act of physical violence within any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(F))

COUNT ELEVEN

On or about January 6, 2021, in the District of Columbia, ZACHARY JORDAN ALAM,
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willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
